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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI



In re: KAYLA GLENN,                           )               Case No. 16-10389-JDW
                                              )               Chapter 13
Debtor


                                        NOTICE OF APPEAL



         21st Mortgage Corporation (“21st Mortgage”) hereby files this Notice of Appeal pursuant to 28

U.S.C. § 158(a)(1) & (b) to the Bankruptcy Appellate Panel for the Fifth Circuit from the order and

judgment of the Bankruptcy Judge entered on August 25, 2016 (Docket No. 41)(the “Order”), overruling

the objection to confirmation of the Debtor’s Chapter 13 plan. Pursuant to Bankruptcy Rule 8003(a)(3),

a copy of the Order is attached hereto as Exhibit A, and pursuant to Official Form 17A the following is

submitted:

Part 1: Identify the appellant(s)

         1.   Names(s) of appellant(s): 21st Mortgage Corporation

         2.   Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject
              of this appeal:


         For appeals in an adversary proceeding          For appeals in a bankruptcy case and
                                                         Not in an adversary proceeding.
G Plaintiff
G Defendant                                              G Debtor
G Other (describe)_________________                      T Creditor
                                                         G Trustee
                                                         G Other (describe) ______________

Part 2: Identify the subject of this appeal

         1.   Describe the judgment, order, or decree appealed from: Order Overruling Objection to
              Confirmation of Debtor’s Plan (Dkt No. 44).


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       2. State the date on which the judgment, order, or decree was entered: August 25, 2016.

Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment, order, or decree appealed from and the names, addresses,
and telephone numbers of their attorneys (attach additional pages if necessary):

       1. Party: 21st Mortgage Corporation           Attorney: William L. Norton III
                                                               Bradley Arant Boult Cummings LLP
                                                               1600 Division St., Suite 700
                                                               Nashville, TN 37203
                                                               (615) 252-2397
                                                               bnorton@bradley.com

                                                     Attorney: Edward E. Lawler, Jr. (#1095)
                                                               McKay Lawler Franklin & Foreman
                                                               PLLC
                                                               P.O. Box 2488
                                                               Ridgeland, MS 39158-2488
                                                               (601) 572-8778 Ext. 221
                                                               elawler@mckaylawler.com

       2. Party: Kayla Glenn                         Attorney: Catherine Umberger (#104458)
                                                               Mayfield Law Firm, PA
                                                               P.O. Box 9
                                                               Tupelo, MS 38802
                                                               (662) 841-8844
                                                               cu@mayfieldlawfirm.com

Dated: September 2, 2016

                                               Respectfully Submitted,
                                               /s/ Edward E. Lawler, Jr.
                                               Edward E. Lawler, Jr.
                                               McKay Lawler Franklin& Foreman, PLLC
                                               P.O. Box 2488
                                               Ridgeland, MS 39158-2488
                                               email: elawler@mckaylawler.com
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                                               Telefax: 601-572-8440
                                               Mississippi Bar No. 1095

                                               and

                                               /s/ William L. Norton III (pro hac vice)
                                               William L. Norton III (TN 10075)



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                                       615-252-2397
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                                       Attorneys for Appellant




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